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                                                     IN THE UNITED STATES DISTRICT COURT
                        2
                                                       NORTHERN DISTRICT OF CALIFORNIA
                        3
                                                              SAN FRANCISCO DIVISION
                        4

                        5    SYNOPSYS, INC.,                                     Case No. 3:17-cv-00561-WHO
                        6                       Plaintiff,                       ORDER GRANTING JOINT MOTION
                                                                                 TO DISMISS CLAIMS WITH
                        7           v.                                           PREJUDICE AND ENTRY OF
                                                                                 STIPULATED JUDGMENT AND
                        8    UBIQUITI NETWORKS, INC., UBIQUITI                   PERMANENT INJUNCTION
                             NETWORKS INTERNATIONAL LIMITED,
                        9    CHING-HAN TSAI, and DOES 1-20,                      Date Action Filed: February 3, 2017
                             inclusive,
                       10                                                        Judge: Hon. William H. Orrick
                                                Defendants.
                       11
                             AND RELATED COUNTERCLAIMS
                       12

                       13          The Joint Motion to Dismiss pursuant to FED. R. CIV. P. 41(a) is hereby GRANTED.
                       14   All claims of Plaintiff and Counterdefendant, Synopsys, Inc. (“Synopsys”) and Defendants and
                       15   Counterclaimants, Ubiquiti Networks, Inc. and Ubiquiti Networks International Limited
                       16   (collectively “UBNT”) and Defendant, Ching-Han Tsai (“Tsai”) are hereby DISMISSED WITH
                       17   PREJUDICE. Each party shall bear its own costs in connection herewith.
                       18          The Clerk is ORDERED to enter the Stipulated Judgment and Permanent Injunction
                       19   among Plaintiff, Synopsys, Inc. and Defendants, Ubiquiti Networks, Inc. and Ubiquiti Networks
                       20   International Limited and terminate Ching-Han Tsai from this case. The Court will retain
                       21   jurisdiction over the remaining parties and the case as set forth in the Stipulated Judgment and
                       22   Permanent Injunction.
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                       24           January 24, 2019
                            DATED: ________________                              __________________________________
                                                                                 WILLIAM H. ORRICK
                       25                                                        UNITED STATES DISTRICT JUDGE
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ORRICK, HERRINGTON &
    SUTCLIFFE LLP
                                                                                                       ORDER GRANTING JOINT MOTION
    ATTORNEYS AT LAW
     SILICON VALLEY                                                        - -                            TO DISMISS WITH PREJUDICE
                                                                                                                3:17-CV-00561-WHO
